Case 2:13-cr-00096-RHW   ECF No. 399   filed 09/13/13   PageID.957 Page 1 of 6
Case 2:13-cr-00096-RHW   ECF No. 399   filed 09/13/13   PageID.958 Page 2 of 6
Case 2:13-cr-00096-RHW   ECF No. 399   filed 09/13/13   PageID.959 Page 3 of 6
Case 2:13-cr-00096-RHW   ECF No. 399   filed 09/13/13   PageID.960 Page 4 of 6
Case 2:13-cr-00096-RHW   ECF No. 399   filed 09/13/13   PageID.961 Page 5 of 6
Case 2:13-cr-00096-RHW   ECF No. 399   filed 09/13/13   PageID.962 Page 6 of 6
